                                         Case 4:21-cv-08009-JSW Document 156 Filed 07/12/22 Page 1 of 1




                                   1

                                   2

                                   3

                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7     DONALD J. TRUMP, et al.,                           Case No. 21-cv-08009-JSW
                                                        Plaintiffs,
                                   8
                                                                                            ORDER TO SHOW CAUSE RE STAY
                                                 v.                                         PENDING APPEAL OF TWITTER
                                   9
                                                                                            CASE
                                  10     YOUTUBE LLC, et al.,
                                                        Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          The Court issues this ORDER TO SHOW CAUSE why this Court in its discretion should

                                  14   not stay this matter pending final disposition of the appeal of the dismissal of Donald Trump, et al.

                                  15   v. Twitter, et al., N.D. Cal. Case No. 21-cv-08378-JD (“Twitter”), which is now before the Ninth

                                  16   Circuit Court of Appeals as Case. No. 22-15961. Each party’s written response shall not exceed

                                  17   seven pages and shall be filed no later than July 26, 2022.

                                  18          IT IS SO ORDERED.

                                  19   Dated: July 12, 2022

                                  20                                                   ______________________________________
                                                                                       JEFFREY S. WHITE
                                  21                                                   United States District Judge
                                  22

                                  23

                                  24

                                  25

                                  26
                                  27

                                  28
